Case 2:07-cr-00025-WBS Document 7 Filed 01/24/07 Page 1 of 12
Case 2:07-cr-00025-WBS Document 7 Filed 01/24/07 Page 2 of 12
Case 2:07-cr-00025-WBS Document 7 Filed 01/24/07 Page 3 of 12
Case 2:07-cr-00025-WBS Document 7 Filed 01/24/07 Page 4 of 12
Case 2:07-cr-00025-WBS Document 7 Filed 01/24/07 Page 5 of 12
Case 2:07-cr-00025-WBS Document 7 Filed 01/24/07 Page 6 of 12
Case 2:07-cr-00025-WBS Document 7 Filed 01/24/07 Page 7 of 12
Case 2:07-cr-00025-WBS Document 7 Filed 01/24/07 Page 8 of 12
Case 2:07-cr-00025-WBS Document 7 Filed 01/24/07 Page 9 of 12
Case 2:07-cr-00025-WBS Document 7 Filed 01/24/07 Page 10 of 12
Case 2:07-cr-00025-WBS Document 7 Filed 01/24/07 Page 11 of 12
Case 2:07-cr-00025-WBS Document 7 Filed 01/24/07 Page 12 of 12
